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   V.ROY LEFCOURT (SBN 49950)
   Attorney at Law
 1 1934 Divisadero Street
   San Francisco, CA 94115
 2 (415) 776-0207

 3 Attorney for Defendant
   AIDE GARCIA
 4

 5
                                  UNITED STATES DISTRICT COURT
 6                               NORTHERN DISTRICT OF CALIFORNIA
 7                                    SAN FRANCISCO DIVISION
 8

 9 UNITED STATES OF AMERICA,                     )   NO: CR 05-0149 MHP
10                                               )
            Plaintiff,                           )
11                                               )
     v.                                          )   STIPULATION TO CONTINUE
12                                               )
     AIDE GARCIA,                                )
13
                                                 )
14          Defendant.                           )

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16
            GOOD CAUSE APPEARING, it is hereby stipulated between the undersigned parties that
17
     the date set for change of plea in the above-entitled matter be continued from Monday, May 1,
18
     2006, at 11:00 a.m. to Monday, May 15, 2006, at 11:00 a.m. due to the fact that the government
19
     requires additional time.
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22
     IT IS SO STIPULATED
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     //
24
     //
25
     //
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     DATED: April 27, 2006                        Respectfully submitted,
 1

 2
                                                  _/s/ V.ROY LEFCOURT________
 3                                                V.ROY LEFCOURT
                                                  Attorney for Defendant
 4                                                AIDE GARCIA
 5

 6 DATED: April 27, 2006
                                                  _/s/ DAVE HALL_____________
 7                                                DAVE HALL
 8                                                Assistant United States Attorney

 9

10
                                ORDER TO CONTINUE SENTENCING
11

12           Based upon the above Stipulation, and for good cause appearing, THE COURT ORDERS
     THAT:
13
             The date set for change of plea in the above-entitled matter be continued from Monday,
14
     May 1, 2006, at 11:00 a.m. to Monday, May 15, 2006, at 11:00 a.m. to grant the government
15
     additional time.
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                                                            TES D      TC
17 IT IS SO ORDERED.
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18                                                                       DERED
                                                UNIT




                                                                 O OR
19 DATED: April 28, 2006                                 IT IS S
                                                  _______________________________
                                                                                         R NIA


                                                  HON. MARILYN H. PATEL
20                                                UNITED STATES DISTRICT          tel JUDGE
                                                                          n H. Pa
                                                NO




                                                               M a r i ly
                                                         Judge
                                                                                         FO




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